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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF HAWAII

                              )
MAUREEN NOLAN,                )     Case No. 1:23-CV-00271 DKW-WRP
                              )
         Plaintiff,           )     REPLY MEMORANDUM
v.                            )     IN SUPPORT OF PLAINTIFF
                              )     MAUREEN NOLAN’S MOTION FOR
PORTER MCGUIRE KIAKONA, )           PARTIAL SUMMARYJUDGMENT;
LLP,                          )     CERTIFICATE OF SERVICE
                              )
           Defendant.         )
                              )
_____________________________ )
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      Preliminarily, PMK does not challenge the fact that Ms. Nolan is a natural

person who was alleged to have owed a debt. Thus, Ms. Nolan is entitled to

Summary Judgment as to the issue of whether she is a consumer under 15 U.S.C. §

1692a(3). Dkt. 43-1, pp. 9-11.

      Similarly, PMK does not challenge the fact that it is a “debt collector” within

the meaning of the FDCPA. See Dkt. 43-1, pp. 14-19. Thus, Ms. Nolan is also

entitled to Summary Judgment as to the “debt collector” element of the FDCPA.

      PMK offers unconvincing arguments as to the remainder of Ms. Nolan’s

issues raised in her Motion for Partial Summary Judgment. Each is discussed below.

                                  I.      ARGUMENT

      PMK alleges that Ms. Nolan “owed a lot” of maintenance and late fees. Dkt.

61, p. 1. “Owing a lot” is not a license to demand fabricated amounts, particularly

in court filings, and does not excuse PMK’s violations under the FDCPA’s strict

liability mandates. Moreover, PMK continues with its consistent theme that Ms.

Nolan is simultaneously a deadbeat and a greedy commercial real estate entrepreneur

who was willing to toss her mentally ill brother into the streets to turn a buck. PMK’s

continued ad hominem attacks reveal its honest beliefs as to the strength of its

arguments. Here, the facts are uncontested and the law is clear. PMK’s efforts to

obscure and evade should be flatly rejected.




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    1. The debt arises from a transaction entered into for personal purposes.

       It is undisputed that, since 2006, Plaintiff has been the owner of the Unit by

way of the Apartment Deed dated August 29, 2006. Dkt. 61, p. 4. It is undisputed

that “[p]ursuant to the Governing Documents, Plaintiff was obligated, as the owner

of the Unit, to pay maintenance fees and other assessments to the AOAO.” Id., p. 5.

PMK does not and cannot offer a single fact that contradicts Ms. Nolan’s

Declaration:1

              3.    The Unit was purchased in 2000 by my mother to be used
       as a residence for my brother, Dennis. Dennis resided in the Unit and
       family members would stay in the Unit when visiting Oahu.

             4.     In 2006, my mother retired from her position as the
       Director of the Head Start program on Kauai. My mother wanted my
       name on the deed as she was retired, would be traveling away from
       Hawaii, and if she died or became incapacitated, she was assured that
       Dennis could continue living in the Unit.

              5.   However, my mother decided to assist my sister in
       purchasing a home in Idaho. Accordingly, in October 2006, I
       purchased the Unit for fair market value from my mother. The Unit
       was intended to continue to be used as a residence for Dennis and my
       mother also planned to reside there during the winter months.
       Additionally, family members would continue stay at the Unit when
       visiting Oahu.




1
  PMK instead claims that Ms. Nolan’s Declaration is “hearsay.” See Dkt. 61, pp.
18-19. Perhaps counsel’s understanding of the Rules of Evidence could stand
refinement but counsel is unable to identify a single hearsay statement in the quoted
(and dispositive) paragraphs of her Declaration. Moreover, it is unclear how Ms.
Nolan’s own subjective intent could possibly be interpreted as hearsay.
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Dkt. 44-1 ¶¶ 3-5. Indeed, the only fact remotely related to this issue that PMK has

ever asserted throughout the course of this entire litigation (which was included

within the Responses to Ms. Nolan’s Requests for Admissions that Judge Porter had

to force PMK to answer, see Dkt. 52) corroborates Ms. Nolan’s uncontested

testimony that Dennis lived in the Unit from 2006 to 2009. See Dkt. 60-18, p. 13

(“PMK ADMITS that it is aware of documents that indicate that Plaintiff’s brother,

Dennis Nolan, lived in the Unit on or about April 30, 2007, and ADMITs that Dennis

Nolan appears to have lived in the Unit on or around that date”).

      These simple uncontroverted facts are dispositive of this issue. The rule that

the relevant time is the time of purchase rather than the time of default or collection

plainly applies in this Circuit (if not all Circuits).     See Glawe v. Carpenter,

Hazlewood, Delgado & Bolen PLC, 859 F. App'x 102, 103–04 (9th Cir. 2021);

Bloom v. I.C. Sys., Inc., 972 F.2d 1067, 1069 (9th Cir. 1992); Haddad v. Alexander,

Zelmanski, Danner & Fioritto, PLLC, 698 F.3d 290 (6th Cir. 2012); Newman v.

Boehm, Pearlstein & Bright, Ltd., 119 F.3d 477, 481 (7th Cir.1997). This Court’s

sister districts have repeatedly affirmed this “undisputed premise that the appropriate

point in time for determining the character of a financial obligation is when the

obligation arose” rather than default or when collection is attempted. Mlnarik v.

Smith, Gardner, Slusky, Lazer, Pohren & Rogers, LLP, No. 14-CV-01849-BLF,

2014 WL 6657747, at *3 (N.D. Cal. Nov. 21, 2014) (citing Haddad and Miller v.


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McCalla, Raymer, Padrick, Cobb, Nichols, & Clark, LLC, 214 F.3d 872, 874 (7th

Cir.   2000);   Nochez    v.   L.   Off.   of   Tary    C.    Loomis-Therrien,    No.

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(same); Porras v. Vial Fotheringham LLP, No. 3:13-CV-00699-BR, 2015 WL

2449486, at *12 (D. Or. May 21, 2015) (finding “the reasoning in Haddad and

Newman to be persuasive.”). Thus, “the [C]ourt should examine plaintiffs’ intent at

the time she purchased her condominium” not at the time of default or collection.

Beeks v. ALS Lien Servs., No. CV 12-2411 FMO PJWX, 2014 WL 7785745, at *4

(C.D. Cal. Feb. 18, 2014) (finding Haddad “particularly persuasive” … “especially

given the Ninth Circuit's admonition to “ ‘examine the transaction as a whole,’

paying particular attention to ‘the purpose for which the credit was extended in order

to determine whether [the] transaction was primarily consumer or commercial in

nature’” because “’[t]he most probative time in determining the purposes that the

individual has for purchasing a property is at the time of the transaction, not when

an agency's collection efforts begin,’”) (quoting Haddad, supra.).

       PMK does not cite a single case with a contrary holding. The closest that

PMK can come to a straight-faced argument on this issue is citing In re Cherrett,

873 F.3d 1060, 1067–68 (9th Cir. 2017). However, PMK’s reliance on Cherrett is

misplaced as there the facts presented the “unusual situation where a person accepts

a loan from his employer as part of a larger transaction to further his career.” In re


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Cherrett, 873 F.3d 1060, 1069 (9th Cir. 2017). Both the BAP and the Ninth Circuit

found numerous facts that showed that Cherrett never intended to use the condo for

personal or family purposes, but instead it was simply a “holding place” that allowed

him to work at a more prestigious job than was available where his residence

remained. Id. Moreover, Cherrett only received the loan because his employer

advanced it to him. Id. Thus, the holding of Cherrett is consistent with the

authorities cited by Ms. Nolan. Indeed, the Ninth Circuit specifically analyzed the

intent at the time the loan was incurred. Id. (“Cherrett further testified that when he

incurred the Housing Loan, his family did not intend to relocate to Colorado with

him, and he considered the condominium a ‘place holder.’”) (emphasis added).

Thus, unlike Ms. Nolan, Cherrett did not intend to use the condo for family or

household purposes at the time the obligation was incurred.

      Similarly, Ms. Nolan does not dispute this Court’s holdings in Kitamura v.

AOAO of Lihue Townhouse, No. CIV. 12- 00353 LEK, 2013 WL 1398058 (D. Haw.

Mar. 29, 2013) or Johnson v. Wells Fargo Home Mortg., Inc., No. 3:05-CV-0321-

RAM, 2007 WL 3226153, at *9 (D. Nev. Oct. 29, 2007). In those cases, both

properties were always intended to be rental properties. Thus, a holding that those

Plaintiffs were not protected by the FDCPA is a correct application of the law.

      This Court should reject PMK’s invitation to change the law for PMK’s

benefit. PMK requests a ruling that would, at the very least, require this Court to


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take a position contrary to specific Ninth Circuit precedent and create an intra-

Circuit split (which would then invite the Ninth Circuit to create an actual Circuit

split should the ruling be upheld). The undisputed facts show that the transaction

from which the obligation arose, i.e., the purchase of the condo from which the

obligation to pay fees and assessments arose, was clearly for family and personal

purposes. Ms. Nolan is entitled to summary judgment on this issue.

           2. The Counterclaim is a communication under the FDCPA.

      As briefed several times relevant to these competing Motions for Summary

Judgment, the holding of Guerrero, by its plain language, is limited to letters from

debt collectors addressed solely to the consumer’s attorney. Guerrero v. RJM

Acquisitions LLC, 499 F.3d 926, 934 (9th Cir. 2007) (holding “that communications

directed solely to a debtor's attorney are not actionable under the Act.”); see also

Donohue v. Quick Collect, Inc., 592 F.3d 1027, 1031–32 (9th Cir. 2010) (“a

complaint served directly on a consumer to facilitate debt-collection efforts is a

communication subject to the requirements of §§ 1692e and 1692f.”). Here, there is

no letter addressed solely to Ms. Nolan’s counsel and, instead, the communication

is the Counterclaim that PMK filed against Ms. Nolan. Not only are lawyers

obligated to communicate such filings to their clients, see HRPC 1.4, but also PMK

attached to the Counterclaim a notice that addressed Ms. Nolan directly as required




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by Hawai‘i law. See Dkt. 43-1, p. 6. And, the entire filing was provided to Ms. Nolan

as PMK now admits it intended, Id.; Dkt. 44-1 ¶ 25.

      This issue is fully briefed in Ms. Nolan’s Motion for Partial Summary

Judgment. Dkt. 43-1, pp. 5-9 In summary, PMK’s argument must be rejected

because:

      1.     FDCPA exemption is irreconcilable with the holding of Heintz v.

Jenkins, 514 U.S. 291, 299 (1995) (which presents strikingly analogous facts to

these, see Donohue, 592 F.3d at 1032) and the 1986 repeal of a statutory provision

exempting attorneys from the definition of “debt collector.” See McCollough v.

Johnson, Rodenburg & Lauinger, LLC, 637 F.3d 939, 951 (9th Cir. 2011);

      2.     Since the Ninth Circuit decided Guerrero, the Supreme Court has held

that “foreclosure is a means of collecting a debt. And a business pursuing nonjudicial

foreclosures would, under the capacious language of the Act’s primary definition,

be one that regularly collects or attempts to collect, directly or indirectly debts.”

Obduskey v. MacCarthy & Holthus, 586 U.S. 466, 474-75 (2019); and

      3.     Several sister District Courts have rejected the argument that a claim is

immune from the application of the FDCPA under Guerrero, see Reyes v. Kenosian

& Miele, LLP, 619 F. Supp. 2d 796, 801–04 (N.D. Cal. 2008), including the District

of Oregon which has squarely concluded “that a counterclaim for a debt is not a

representation made to an attorney, but rather a demand for money made on the


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debtor, through a pleading rather than a letter or a phone call.” Avery v. Gordon, No.

08-139-HU, 2008 WL 4793686, at *8–9 (D. Or. Oct. 27, 2008).

      This Court should reject PMK’s invitation to hold that debt collectors are

immunized from liability under the FDCPA where the debt collector’s violative

conduct occurs at any time after the consumer retains counsel. Such an extraordinary

holding would contradict binding authority and does not promote the policy of the

FDCPA.

                    3.    PMK blatantly violated the FDCPA.

      PMK presents a hodgepodge of thin arguments in hopes that something

sticks. Consistent with the remainder of its Response, what PMK fails to produce

is a single fact that contradicts any of those presented by Ms. Nolan. Indeed, PMK

dodges this issue entirely, carefully avoiding any representation that it did demand

a correct balance. PMK resorts to the same type of desperate straw-grasping that

it raised when arguing that the condo transaction was not intended for personal or

family purposes, speculative tactics which are insufficient to overcome Ms.

Nolan’s entitlement to summary judgment as to both issues.

      On the other hand, Ms. Nolan has presented numerous detailed and

undisputed facts showing definitively that the amount demanded by PMK in its

Counterclaim misrepresented the amount owed. Not the least of which is the

indisputable fact that the amount due as stated on the ledger did not exceed $25,000


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until November 2022, three months after the filing of the Counterclaim. Dkt. 43-1,

p. 20. And, the only additional legal fees that appear on the ledger from August of

2022 until April of 2023 is a single entry for $693.75 in March of 2023. Id. Thus,

the balance demanded in the Counterclaim cannot be dependent upon attorneys’

fees incurred in drafting the Counterclaim. This, alone, entitles Ms. Nolan to

summary judgment as to whether the FDCPA was violated.

      Nevertheless, as in the Complaint, Ms. Nolan presented detailed explanations

of the reasons why the ledger itself cannot be relied upon to calculate a correct

balance. Id. pp. 22-23. Ms. Nolan also presented the unrefuted testimony of PMK’s

client, AOAO Mokuleia Sands, the debtor for whom PMK was purportedly

collecting the debt, where its 30(b)(6) designees admitted that: 1) late fees were

never properly calculated since the AOAO’s late fee policy was adopted in 2012;

and 2) Ms. Nolan (and hence the least sophisticated consumer) could never have

known how the late fee was calculated. Dkt. 43-7, pp. 23-24. Game, set, match.

      There is no genuine issue of material fact as to whether PMK misrepresented

the amount of the debt and/or attempted to collect amounts that were not expressly

authorized by the agreement creating the debt. There is no genuine issue of material

fact as to whether the least sophisticated consumer would be misled by the amounts

PMK attempted to collect.




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      PMK can dismiss this incontrovertible dispositive evidence as “mathematical

gymnastics” to its heart’s desire. Its argument that Plaintiff “fails to explain how

or why” the amounts demanded are false and incorrect is obviously baseless. Ms.

Nolan remains entitled to summary judgment on this issue.

      PMK suggests that Ms. Nolan’s Motion be denied because “critically” she

has not spent thousands of dollars on an expert forensic accountant to sort PMK’s

mess. Ms. Nolan not required to calculate a correct balance. Instead, Ms. Nolan

only need show that the balances demanded would confuse the least sophisticated

consumer. Donohue v. Quick Collect, Inc., 592 F.3d 1027, 1030 (9th Cir. 2010).

Despite all its bluster, PMK has not offered a single explanation as to how on earth

the least sophisticated consumer would not be confused by the balance it

demanded. It can’t. Indeed, PMK, despite its sophistication in having made

thousands of demands from condo owners, is itself confused and has not even

attempted to explain how it “calculated” the demanded balance. From Ms. Nolan’s

perspective, use of a lottery ball machine may have produced a less confusing

balance.

      Not to be deterred, PMK argues that testimony regarding the balances must

be made by an expert. It does not require an expert to compare the demands to the

ledger, or to simply calculate the interest rate that must have been applied to

calculated the demands. Vasserman v. Henry Mayo Newhall Mem'l Hosp., 65 F.


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Supp. 3d 932, 947 (C.D. Cal. 2014) (“Vasserman does not explain why simple

mathematical calculations constitute expert testimony. ... A declarant need not be

an expert witness to offer this type of testimony. The court therefore concludes that

Puleo does not offer expert testimony and overrules Vasserman's objections under

Rules 701, 702, and 704”); United States v. Town of Colorado City, Arizona, No.

3:12-CV-8123-HRH, 2015 WL 11163601, at *1 (D. Ariz. Mar. 16, 2015)

(“calculations with respect to the Cities' water contract and actual culinary water

distribution involves no specialized knowledge, no technical matters, and no

scientific matters. Mr. Komm's testimony relies upon nothing more than data

received by him from the Cities, the 1,200 gpm contract amount, and simple

mathematical calculations based on that information); Scarlet Honolulu, Inc. v.

Honolulu Liquor Comm'n, No. CV 21-00457 MWJS-KJM, 2024 WL 4444298, at

*1 (D. Haw. Oct. 8, 2024) (recounting finding of genuine dispute of material fact

based on lay witness’ testimony in regards to data which proponent argued was “a

matter of simple arithmetic”).

      PMK also argues that “Plaintiff’s MPSJ fixates” on the ledger, none of which

were attached to the AOAO’s Counterclaim. Dkt. 61, p. 13. Plaintiff agrees that

the ledgers are not communications under the FDCPA but evidence that PMK’s

actual communication violated the FDCPA. Ms. Nolan has never alleged that the

ledgers were communications.


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      PMK argues further that “the AOAO’s Governing Documents clearly

authorize the AOAO to file the Counterclaim, and there is no evidence that PMK

lacked an appropriate authorization before taking action against the Plaintiff.” Dkt.

61, p. 23. This is yet another straw man argument. The FDCPA is a strict liability

statute. The AOAO’s input or participation is wholly irrelevant.

                  4. Ms. Nolan’s evidence is obviously sufficient.

      Undoubtedly aware that it cannot contest Ms. Nolan’s facts and, thus, there

are no genuine issues of disputed facts, PMK insinuates throughout its Response

that Ms. Nolan’s evidence is somehow insufficient to meet her initial burden of

establishing the facts.

      In support of this argument, PMK cites Adickes v. S. H. Kress & Co., 398 U.S.

144, 160–61 (1970).       Yet, Adickes specifically suggests that Declarations be

presented to prove the facts in support of Summary Judgment. Id. at 60 (“[t]o have

avoided conceding this fact for purposes of summary judgment, petitioner would

have had to come forward with either (1) the affidavit of someone who saw the

policeman in the store or (2) an affidavit under Rule 56(f) explaining why at that

time it was impractical to do so.”). Yet Ms. Nolan’s Declaration and Deposition

testimony is uncontested. Thus, using PMK’s own authority, Ms. Nolan’s burden

has been met and PMK has failed to meet its burden. See also Hoover v. Switlik

Parachute Co., 663 F.2d 964, 966–67 (9th Cir. 1981) (holding that depositions were


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same as affidavits for purposes of summary judgment motion). PMK does not cite

a single case (nor could it) that holds that a Plaintiff’s Declaration is not sufficient

evidence for the purposes of a Motion for Summary Judgment. PMK insinuates that

Ms. Nolan is not credible but has failed to identify a single impeaching fact. Ms.

Nolan’s position simply devastates PMK’s and, therefore, it must mean Ms. Nolan

is a liar. Even if this were sufficient, credibility determinations are left to the jury.

Id.

                                 II.     CONCLUSION

      From its briefing – including its Motion for Summary Judgment, Dkt. 47, and

the instant Response, Dkt. 61, as well as its discovery tactics in this case, see Dkt. 52

– PMK’s defense has become clear: obscure, evade, and attempt to shift both blame

and burden from itself to Ms. Nolan. PMK does not have a single fact to contest

Ms. Nolan’s dispositive fact. PMK’s invitation(s) to expand and ignore the law are

baseless and would only serve the single policy consideration of assisting PMK in

escaping liability to Ms. Nolan. Its brazen attempt at doing so should be flatly

rejected. Ms. Nolan is entitled to summary judgment on each and every issue raised

in her Motion.




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   DATED: Honolulu, Hawaii, October 18, 2024.



                                s/Richard L. Holcomb
                                Richard L. Holcomb (HI Bar No. 9177)

                                Attorney for Plaintiff Maureen Nolan




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